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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT
____________________________________

 MIA CASTRO, M.D., et al                            )   CIVIL ACTION NO:
                                                    )
             Plaintiff,                                 3:20-cv-00330 (JBA)
                                                    )
    v.                                              )
                                                    )
 YALE UNIVERSITY, et al
                                                    )
             Defendant.                             )   June 17, 2020
____________________________________


   DEFENDANT MANUEL LOPES FONTES, M.D.’S MOTION TO DISMISS

          Defendant Manual Lopes Fontes, M.D. (“Defendant” or “Defendant Fontes”)

hereby moves to dismiss the Fifth, Sixth and Seventh Counts of the Amended Complaint

dated May 29, 2020 [Doc. No. 44], pursuant to Rule 12(b)(1) of the Federal Rules of Civil

Procedure and 28 U.S.C. § 1367(c). These counts allege state-law claims of Assault (Fifth

Count), Battery (Sixth Count), and Invasion of Privacy (Seventh Count). Plaintiffs assert

that this Court has supplemental jurisdiction over these claims pursuant to 28 U.S.C. §

1367(a).

          Defendant requests that this Court decline to exercise such jurisdiction, pursuant to

§ 1367(c) and under principles of economy, convenience, fairness and comity. This action

is brought against Yale University and New Haven Hospital (“YNNH”) (the “Yale

Defendants”) pursuant to Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681

et seq. (Second and Third Counts) and Title VII (Third and Fourth Counts). Defendant

Fontes is not a party to those claims. Rather, Plaintiffs seek to exert supplemental

jurisdiction over distinct state-law claims against Defendant Fontes. The Yale Defendants

are not parties to those state-law claims. In this case, compelling circumstances weigh


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against the exercise of supplemental jurisdiction over the claims against Defendant Fontes.

In support of this Motion, Defendant herewith submits the attached Memorandum of Law.

       Wherefore, Defendant hereby moves to dismiss the Fifth, Sixth and Seventh Counts

of the Complaint.

                                             THE DEFENDANT


                                     By:     /s/ Aimee J. Wood
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                                     CERTIFICATION

        I hereby certify that on June 17, 2020, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of

this filing will be served by e-mail to all parties by operation of the court’s electronic filing

system or by mail to anyone unable to accept electronic filing as indicated on the Notice of

Electronic Filing.




                                                /s/ Aimee J. Wood
                                                Aimee J. Wood (ct18702)




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